           Case: 23-2002    Document: 6     Page: 1   Filed: 07/31/2023




                                  2023-2002

UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                              SABINSA CORP.,
                               Plaintiff-Appellee,

                                       v.

                            HERBAKRAFT, INC.,
                                Defendant

                       PRAKRUTI PRODUCTS PVT. LTD.,
                             Defendant-Appellant

 Appeal from the United States District Court for the District of New Jersey,
                   Case No: 1:14-cv-04738-RBK-SAK

                  APPELLEE SABINSA’S RESPONSE TO
                    COURT’S SHOW CAUSE ORDER

                                    James H. Hulme
                                    Richard Berman
                                    Taniel E. Anderson
                                    Jasjit S. Vidwan
                                    ArentFox Schiff LLP
                                    1717 K Street, NW
                                    Washington, DC 20006
                                    202.857.6000
                                    james.hulme@afslaw.com



                                    Counsel for Plaintiff-Appellee Sabinsa
                                    Corp.

Dated: July 31, 2023
                Case: 23-2002        Document: 6
                                               4   Page: 2
                                                         1   Filed: 07/31/2023
                                                                    06/26/2023



FORM 9. Certificate of Interest                                                  Form 9 (p. 1)
                                                                                  March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2023-2002
   Short Case Caption Sabinsa Corp. v. Herbakraft, Inc.
   Filing Party/Entity Sabinsa Corp.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        06/26/2023
  Date: _________________                    Signature:   /s/ James H. Hulme

                                             Name:        James H. Hulme
                Case: 23-2002         Document: 6
                                                4      Page: 3
                                                             2        Filed: 07/31/2023
                                                                             06/26/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




Sabinsa Corp.




                                  ‫܆‬      Additional pages attached
                Case: 23-2002     Document: 6
                                            4       Page: 4
                                                          3     Filed: 07/31/2023
                                                                       06/26/2023



FORM 9. Certificate of Interest                                                     Form 9 (p. 3)
                                                                                     March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable              ‫܆‬
                                           ✔         Additional pages attached

ArentFox Schiff LLP




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No   ✔
                                                              ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable              ‫܆‬         Additional pages attached
             Case: 23-2002       Document: 6
                                           4       Page: 5
                                                         4    Filed: 07/31/2023
                                                                     06/26/2023




2023-2002 Form 9, Certificate of Interest – Additional Page

Item 4. Legal Representatives.

       A.     Saiber LLC
              x      Sean R. Kelly
              x      Katherine Ann Escanlar

       B.     ArentFox Schiff LLP
              x     Ahmed Abdel-Rahman
              x     Jake Christensen
              x     Brian H. Gold
              x     Alton L. Hare
              Case: 23-2002    Document: 6    Page: 6   Filed: 07/31/2023




         Pursuant to the Court’s June 30, 2023 Show Cause Order, Appellee Sabinsa

Corp. (“Sabinsa”) files this response agreeing that the Court lacks subject matter

jurisdiction over this premature appeal filed by Defendant-Appellant Prakruti

Products Pvt. Ltd. (“Prakruti”). For reasons outlined below and in the Court’s

Show Cause Order, Sabinsa respectfully requests that the Court dismiss the

pending appeal.

    I.   Factual Background

         In 2018, the district court sanctioned Prakruti for spoliating key evidence

and making a series of misrepresentations to the court. ECF No. 220.1 Since then,

Prakruti spent the last four years filing motions for reconsiderations and appeals of

magistrate judge rulings. On April 12, 2023, the district court rejected Prakruti’s

final attempt to delay payments of sanctions and ordered that Prakruti pay the full

amount of “$1,003,484.29” by “5:00 pm on 18 April 2023.” ECF No. 322.

         Instead of complying, Prakruti’s counsel wired Sabinsa $8,671—less than

1% of the award. ECF No. 325. In response, the district court (1) found Prakruti in

civil contempt for failure to comply with the payment order, (2) ordered an entry of

default against Prakruti on all claims, and (3) scheduled default judgment briefing.

ECF No. 331.

1
  All “ECF No.” citations refer to pleadings filed in the underlying district court
case: Sabinsa Corp. v. Herbakraft, Inc., et al., No. 14-cv-4738 (D.N.J.).
                                          1
            Case: 23-2002     Document: 6      Page: 7   Filed: 07/31/2023




      During default judgment briefing, Prakruti filed a notice of appeal to this

Court on June 2, 2023. ECF No. 336. The notice of appeal included three sets of

lawyers listed as representing Prakruti:




                                           2
            Case: 23-2002     Document: 6    Page: 8    Filed: 07/31/2023




      Sabinsa reached out to each of Prakruti’s counsel listed above—James T.

Wilson (district court lead counsel), Jason B. Lattimore (district court local

counsel), and Laurence Sandell (appellate counsel)—to inquire about Prakruti’s

position in response to this Court’s Show Cause Order. All of them replied that

they do not represent Prakruti in this appeal.2 Messrs. Lattimore and Wilson,

however, continue to represent Prakruti in the district court case and filed a motion

to seal on July 24, 2023. See ECF No. 346.

II.   Argument

      The district court has not yet ruled on Sabinsa’s pending motion for default

judgment. And as this Court noted, the civil contempt order and the entry of

default are not appealable final judgments. See Show Cause Order at 2. Thus, this

premature appeal should be dismissed for lack of subject matter jurisdiction.

      Separately, Prakruti failed to comply with the Notice of Docketing and is

currently an unrepresented corporate party. This also supports dismissal. See Fed.

Cir. R. 47.3(a) (“A corporation, partnership, organization, or other legal entity

must be represented by counsel before this court.”); Sys. Mgmt. Am. Corp. v.

England, 25 F. App’x 914, 914 (Fed. Cir. 2001) (dismissing appeal because “[i]n

2
  Sabinsa lacks any information about who represents Prakruti in this appeal.
Notably, Prakruti filed no entry of appearance (nor a certificate of interest or
docketing statement), as required by this Court’s Notice of Docketing and rules.
See Fed. R. App. P. 26.1(a); Fed. Cir. R. 47(b).
                                         3
            Case: 23-2002     Document: 6      Page: 9   Filed: 07/31/2023




federal courts, a corporation must be represented by counsel. This requirement

cannot be waived.” (citations omitted)).

III.   Conclusion

       For these reasons, Sabinsa respectfully requests dismissal of this appeal.



Dated: July 31, 2023

                                       Respectfully submitted,

                                        /s/ James H. Hulme
                                       James H. Hulme
                                       Richard Berman
                                       Taniel E. Anderson
                                       Jasjit S. Vidwan
                                       ArentFox Schiff LLP
                                       1717 K Street, NW
                                       Washington, DC 20006
                                       202.857.6000
                                       james.hulme@afslaw.com

                                       Counsel for Plaintiff-Appellee Sabinsa
                                       Corp.




                                           4
              Case: 23-2002         Document: 6        Page: 10      Filed: 07/31/2023



FORM 19. Certificate of Compliance with Type-Volume Limitations                           Form 19
                                                                                         July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-2002

  Short Case Caption: Sabinsa Corp. v. Herbakraft, Inc.

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

The foregoing filing complies with the relevant type-volume limitation of the
Federal Rules of Appellate Procedure and Federal Circuit Rules because it meets
one of the following:

        ✔       the filing has been prepared using a proportionally-spaced typeface
                and includes __________
                              522        words.

                the filing has been prepared using a monospaced typeface and includes
                __________ lines of text.

                the filing contains __________ pages / __________ words / __________
                lines of text, which does not exceed the maximum authorized by this
                court’s order (ECF No. __________).


        07/31/2023
  Date: _________________                       Signature:        /s/ James H. Hulme

                                                Name:             James H. Hulme




                                             Save for Filing
          Case: 23-2002     Document: 6    Page: 11   Filed: 07/31/2023




                        CERTIFICATE OF SERVICE

      I certify that on July 31, 2023, I filed the foregoing with the Clerk of the

Court of the United States Court of Appeals for the Federal Circuit by using the

appellate CM/ECF system. Participants in the case are registered CM/ECF users

and service will be accomplished by the appellate CM/ECF system.


Dated: July 31, 2023

                                     Respectfully submitted,

                                     /s/ James H. Hulme
                                     James H. Hulme
                                     Richard Berman
                                     Taniel E. Anderson
                                     Jasjit S. Vidwan
                                     ArentFox Schiff LLP
                                     1717 K Street, NW
                                     Washington, DC 20006
                                     202.857.6000
                                     james.hulme@afslaw.com

                                     Counsel for Plaintiff-Appellee Sabinsa
                                     Corp.
